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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION AT DAYTON

JAMES E. QUINN,

                       Petitioner,               :   Case No. 3:19-cv-074

       - vs -                                        District Judge Thomas M. Rose
                                                     Magistrate Judge Michael R. Merz

NORMAN ROBINSON, Warden,
 London Correctional Institution
                                                 :
                       Respondent.


          SECOND ORDER TO FILE CORRECTED TRAVERSE


       On December 9, 2020, the Court entered an Order to File Corrected Traverse (ECF No.

66), requiring Petitioner to re-file his Traverse and use the pinpoint citation method prescribed in

S. D. Ohio Civ. R. 7.2(b)(5) which provides:

                (5) Pinpoint Citations. Except for Social Security cases, which
                must comply with S.D. Ohio Civ. R. 8.1(d), all filings in this Court
                that reference a prior filing must provide pinpoint citations to the
                PageID number in the prior filing being referenced, along with a
                brief title and the docket number (ECF No. ___ or Doc. No. ___) of
                the document referenced.


The Magistrate Judge explained that strict compliance with this Rule is necessary because the

Court’s electronic filing system (prescribed by the judicial Conference of the United States) cannot

insert hyperlinks to the record unless the Rule is followed. Id. at PageID 2210-11. The Order

quoted a non-conforming portion of the original Traverse:

                (Tr. DOC#10-5, PAGEID#1487.) The State Appellate Court
                questioned the alleged victim's credibility. They stated, “We agree
                that the credibility of the victim was at issue....” (CAO DOC#10,

                                                 1
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                PAGEID#217.) Furthermore, the record reflects Ms. Quinn lied to
                the police (DOC#10-5, PAGEID#1608-10, 1674), and lied under
                oath. (DOC#10-5, PAGEID#1604-1605, 1685.)

Id. at PageID 2211, quoting ECF No. 64, PageID 2143.

       In response to the Court’s Order, Petitioner’s counsel has filed a Corrected Traverse (ECF

No. 70). Unfortunately, the Corrected Traverse still does not comply with the Rule. For example,

the following excerpt is taken from the Corrected Traverse:

                (Trial Transcript, DOC#10-5, PAGEID #1570, 1571.) Ms. Quinn
                also states Samantha was driving, and that Quinn could not have
                been driving due to his intoxication. (Trial Transcript, DOC#10-5,
                PAGEID#l606, 1607.)

                The Respondent claims that Beverley said she had been struck in the
                face, but “no charges were filed at this time.” (Trial Transcript,
                DOC#10-5, PAGEID#1498.)

(ECF No. 70, PageID 2227). In the Order for Corrected Traverse, the Magistrate Judge explained

that “While the human reader can easily translate “DOC#10-5, PAGEID#1487” to Doc. No. 10-5

or ECF No. 10-5, PageID 1487, the computer cannot do so and therefore cannot insert the

hyperlink.” The prediction in the Order for Corrected Traverse has unfortunately proven true:

Petitioner did not use the required form and the CM/ECF program has therefore not inserted the

required hyperlinks to the record.

       Because the Traverse is more than eighty pages long and Petitioner’s arguments are fact-

intensive, the Court must insist on compliance with the Rule. That is, every pinpoint citation must

be in precisely the form ECF No. ___, PageID ___ or Doc. No. ___, PageID ___. The symbol #

may not be used as a substitute for the abbreviation “No.”

       Accordingly, it is again ORDERED that Petitioner file, not later than January 15, 2021, a

corrected traverse which includes pinpoint record citations in the form required by S. D. Ohio Civ.

R. 7.2(b)(5).

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       The Return of Writ in this case was filed July 25, 2019. Petitioner was given repeated

extensions of time to file a traverse and has now filed two versions which do not comply with the

Local Rules. Any further traverse which is filed without compliance with those rules will be

stricken and the Court will proceed to decide the case without benefit of a traverse/reply.



December 29, 2020.

                                                            s/ Michael R. Merz
                                                           United States Magistrate Judge




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